
USCA1 Opinion

	




                              _________________________
          No. 97-1118
                              UNITED STATES OF AMERICA,
                                     Appellant,
                                         v.
                                 RONALD A.X. STOKES,
                                Defendant, Appellee.
                              _________________________
                    APPEAL FROM THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS
                  [Hon. Edward F. Harrington, U.S. District Judge]
                              _________________________
                                       Before
                                Selya, Circuit Judge,
                            Hill,* Senior Circuit Judge,
                             and Boudin, Circuit Judge.
                              _________________________
               Donald K. Stern, United States Attorney, with whom Andrea N.
          Ward, Assistant United States Attorney, was on brief, for
          appellant.
               James 
                     S. 
                        Dilday, with whom  Derege 
                                                  B. 
                                                     Demissie and Grayer 
                                                                          &amp;
          Dilday were on brief, for appellee.
                              _________________________
                                   August 22, 1997
                              _________________________
          _______________
          *Of the Eleventh Circuit, sitting by designation.

                    SELYA, 
                          Circuit Judge
                                       . The United States appeals from the
          dismissal, on due process grounds, of an indictment against
          defendant-appellee Ronald A.X. Stokes. Because the district court
          acted improvidently and in excess of its authority, we reverse.
          I. BACKGROUND
                    The factual foundation of the case is laid elsewhere, 
                                                                        see
          United  
                 States v.   Stokes, 947 F. Supp. 546 (D. Mass. 1996);
          Commonwealth v. Stokes, 653 N.E.2d 180 (Mass. App. Ct.),   review
          denied, 655 N.E.2d 1277 (Mass. 1995), and a sketch suffices for
          present purposes.
                    Boston police officers arrested Stokes on December 6,
          1990, and charged him with first-degree murder, unlawful carriage
          of a firearm (an AK-47 semi-automatic rifle), and two counts of
          assault and battery with a dangerous weapon. On August 11, 1992,
          a state court jury acquitted him on the murder charge, but
          convicted him on the other three counts. Mindful of both the
          circumstances of the crimes and the defendant's recidivism, the
          judge sentenced him at or near the statutory maximum for each count
          and made the sentences consecutive. Stokes' anticipated release
          date from state confinement is in 2006.
                    The federal government knew of Stokes' case no later than
          June 9, 1993. Still, the federal behemoth did not stir until
          December 5, 1995, when the United States charged Stokes with being
          a felon in possession of a firearm.    See 18 U.S.C. S 922(g)(1)
          (1994). Stokes moved to dismiss the federal indictment on
          temporally oriented grounds. He averred that the prosecution was
                                          2

          time-barred and that the protracted preindictment delay violated
          (a) his Fifth Amendment right to due process, (b) his Sixth
          Amendment right to a speedy trial, and (c) the strictures of Fed.
          R. Crim. P. 48(b). Following a hearing, the district court took
          the unorthodox step of submitting a series of interrogatories to
          the government sua sponte.
                    In the course of those proceedings, the government
          explained, among other things, that this prosecution would further
          the federal interest in protecting the public from a violent
          criminal. The government noted that Stokes, who had accumulated an
          unrelieved record of bellicose criminality, on this occasion had
          wielded a particularly lethal weapon, and that, if he were to be
          convicted on the federal charge, he could be punished as an armed
          career criminal. The court eventually rejected each of Stokes'
          claims. Because the five-year statute of limitations commenced
          running on December 7, 1990, the indictment, handed up on December
          5, 1995, was timely. See 
                                   United States
                                                 v. 
                                                    Stokes, 947 F. Supp. at
          550. Because the defendant made no showing that preindictment
          delay caused him actual prejudice or emanated from a prosecution
          effort to gain an unfair tactical advantage, Stokes' Fifth
          Amendment claim failed.   See id. at 551. Because an accused's
          constitutional right to a speedy trial does not attach until the
                              
               The United States Attorney obtained an authorized waiver from
          the Justice Department's Petite policy, an aspirational protocol
          which seeks to prevent overlapping federal-state prosecutions
          absent a compelling federal interest. See 
                                                    generally 
                                                              United States
          v. 
            Gary, 74 F.3d 304, 313 (1st Cir.), 
                                              cert. 
                                                    denied, 116 S. Ct. 2567
          (1996).
                                          3

          filing of a charge, the Sixth Amendment offered Stokes no shelter.
          See id. at 552. And, finally, the court ruled that Criminal Rule
          48(b) does not apply to preindictment delay.  See id.
                    Had the district court stopped at this juncture, these
          proceedings would be unnecessary. But the judge brooded over the
          sentencing possibilities. Noting that, regardless of the earlier
          acquittal, Stokes' sentence could be enhanced to life imprisonment
          without parole if the government obtained a conviction on the
          federal weapons charge and then proved at sentencing by a
          preponderance of the evidence that he had committed the murder, 
                                                                        see
          generally USSG S2K2.1; USSG S1B1.3(a), the judge foresaw "vexing
          issues" of due process, double jeopardy, and selective prosecution.
          United States
                       v. 
                          Stokes, 947 F. Supp. at 553. While acknowledging
          that the prosecution transgressed no established constitutional
          doctrine, he identified four factors which, in his estimation, gave
          rise to "constitutional implications": (1) the substantial
          preindictment delay; (2) a 
                                    de 
                                       facto successive prosecution for the
          same firearms offense, albeit by a different sovereign, exacerbated
          by the prospect of a disparate sentence of mandatory life
          imprisonment; (3) a  de facto reprosecution, in the guise of a
          sentencing enhancement, for acquitted conduct (the murder) under a
          less rigorous standard of proof; and (4) a form of selective
          prosecution.  Id. at 556-57. He then proceeded to dismiss the
          indictment, reasoning that "[a]lthough no one factor, by itself,
          may offend constitutional canons, the effect of all of the factors
          in the aggregate . . . violates the Due Process Clause."  Id. at
                                          4

          557. This appeal ensued.
          II. DISCUSSION
                    Because the district court's dismissal of the indictment
          on constitutional grounds raises a pure question of law, we
          exercise plenary review. See 
                                       United States
                                                     v. 
                                                        Nippon Paper Indus.
          Co., 109 F.3d 1, 3 (1st Cir. 1997), petition for cert. filed, 65
          U.S.L.W. 3839 (U.S. June 13, 1997) (No. 96-1987); 
                                                           United States
                                                                         v.
          Aguilar-Aranceta, 957 F.2d 18, 21 (1st Cir. 1992). We begin with
          the court's aggregation theory and then turn to the court's
          preoccupation with possible sentencing outcomes. We conclude by
          considering various alternative grounds proffered by the appellee
          in an attempt to salvage the judgment.
                                A.  Aggregate Effect.
                    The cornerstone of the district court's order is its
          conclusion that a medley of constitutional concerns, each
          insufficient to bar prosecution, added up to a due process
          violation and required dismissal of the indictment. The district
          court cited United States v. Lombard, 72 F.3d 170 (1st Cir. 1995)
          (Lombard 
                   I), as the sole authority for this aggregation theory.
          Lombard I is well wide of the mark.
                    A state court jury acquitted Lombard on murder charges.
          A federal court jury subsequently convicted him on federal firearms
          charges arising out the same nucleus of operative facts. The trial
          judge imposed a mandatory life sentence based on preponderant
          evidence that Lombard used the weapons to commit the murders (of
          which he previously had been acquitted).       See  id. at 172.
                                          5

          Expressing but not resolving constitutional concerns about, inter
          alia, the magnitude of the sentence enhancement, the prior
          acquittal, the qualitative difference between the sentence-
          enhancing conduct and the offense of conviction, and the severity
          of the sentence imposed, the court held that this combination of
          special facts permitted the district court to consider a downward
          departure at sentencing.  See id. at 180, 184-85; see also United
          States v. Lombard, 102 F.3d 1, 2 (1st Cir. 1996) (   Lombard 
                                                                        II)
          (explicating previous panel decision),  cert. denied, 117 S. Ct.
          2437 (1997).
                    Lombard 
                            I offers no support for the dismissal of the
          indictment in this case.      Lombard  
                                                I is a sentencing case,
          elaborating on departure principles, and its analysis is unique to
          the milieu of the federal sentencing guidelines. 
                                                          See 
                                                              Lombard I
                                                                       , 72
          F.3d at 183-87; see generally Koon v.  United 
                                                        States, 116 S. Ct.
          2035, 2044-45 (1996). Judge Harrington transposed the statements
          contained in 
                      Lombard I
                                from the sentencing context to the pretrial
          context. Tugging those statements so far from their moorings
          empties them of meaning.
                    Moreover, Judge Harrington's reading of   Lombard 
                                                                      I is
          undone by 
                   Lombard II
                              (which, in all fairness, was decided some two
          weeks after Judge Harrington ruled).    Lombard 
                                                          I resulted in a
          remand for further consideration of the appropriate sentence. 72
          F.3d at 187.  Lombard 
                                II upheld the district court's denial of a
          downward departure and its reimposition of a sentence of life
          imprisonment. 102 F.3d at 2-3, 5. This result refutes Judge
                                          6

          Harrington's vision of  Lombard  
                                           I as the progenitor of a new
          constitutional dogma. The short of it is that the district court
          did not cite, and we have not unearthed, any authority for the
          proposition that individual factors, none of which crosses
          constitutional boundaries, may violate the Constitution in the
          aggregate. While perhaps some strange concatenation of
          circumstances lurks at the outer periphery of constitutional
          doctrine, we are confident that, on the facts of this case, the
          whole is no more than the sum of the parts.
                    In a gallant effort to hold his gains, Stokes' able
          counsel points out that we have recognized in other contexts the
          principle of cumulative effect.    See,  e.g., United  
                                                                 States v.
          Sepulveda, 15 F.3d 1161, 1195-96 (1st Cir. 1993); 
                                                           United States
                                                                         v.
          Dwyer, 843 F.2d 60, 65 (1st Cir. 1988). That is true as far as it
          goes   but it does not go very far. While trial errors which in
          isolation appear harmless may have a cumulative effect so
          prejudicial as to require reversal, the operation of that principle
          depends on the existence of two or more errors. By definition,
          cumulative-error analysis is inappropriate when a party complains
          of the cumulative effect of non-errors.  See Hoxsie v. Kerby, 108
          F.3d 1239, 1245 (10th Cir. 1997),  petition for cert. filed, ___
          U.S.L.W. ___ (U.S. June 9, 1997) (No. 96-9364). Here, as Judge
          Harrington himself concluded, each individual claim of
          constitutional error misfires. Thus, we cannot endorse the curious
          alchemy by which the lower court transformed an array of
          constitutionally acceptable factors into a constitutional
                                          7

          abomination.
                           B.  Sentencing Considerations.
                    The court below dwelt at some length on the potentially
          severe sentence that Stokes might receive if he were convicted on
          the federal charge. The court's reliance on this factor as a basis
          for granting relief was at best premature.
                    In the normal course of events, a facially valid
          indictment returned by a duly constituted grand jury calls for a
          trial on the merits. See 
                                   Costello v. 
                                               United States
                                                            , 350 U.S. 359,
          363 (1956); United States v. Rodriguez, 738 F.2d 13, 16 (1st Cir.
          1984). Because the public maintains an abiding interest in the
          administration of criminal justice, dismissing an indictment is an
          extraordinary step.  See United States v. Morrison, 449 U.S. 361,
          363-64 (1981). Even when evidence of a constitutional infraction
          looms, remedies ordinarily "should be tailored to the injury
          suffered from the constitutional violation and should not
          unnecessarily infringe on competing interests." 
                                                         Id. at 364. Thus,
          an indictment should not be dismissed with prejudice when other
          means exist to correct a constitutional breach.  See id. at 365;
          cf. United 
                     States v.  Hastings, 847 F.2d 920, 928-29 (1st Cir.
          1988).
                    This principle applies in regard to sentencing: when the
          supposed constitutional infirmity derives from particular
          attributes of a sentence imposed, the scope of relief is limited to
          excising the taint from the sentence. 
                                               See, 
                                                    e.g., 
                                                          Coker v. 
                                                                   Georgia,
          433 U.S. 584, 600 (1977); United States v. Connell, 960 F.2d 191,
                                          8

          196-97 (1st Cir. 1992). Though we take no view as to whether the
          concerns to which the district court alluded might warrant relief
          at the sentencing stage, see generally United 
                                                        States v.  Saldana,
          109 F.3d 100, 104 (1st Cir. 1997) (acknowledging the possibility
          that the timing of an indictment might, in some circumstances,
          "produce[] sentencing consequences so unusual and unfair that a
          departure would be permissible"), those concerns are properly
          reserved for consideration at the time of sentencing. They have
          no bearing on the question of whether a trial should go forward.
                    The anatomy of the doctrine of preindictment delay
          strengthens our conviction that Judge Harrington prematurely
          considered post-conviction possibilities. Dismissal for
          preindictment delay on due process grounds requires, inter alia, a
          showing of actual prejudice. See 
                                          United States
                                                        v. 
                                                           Marion, 404 U.S.
          307, 325-26 (1971); Acha v. United 
                                              States, 910 F.2d 28, 32 (1st
          Cir. 1990) (per curiam). Accordingly, courts regularly have found
          claims of prejudice related to sentencing possibilities too
          speculative to implicate a defendant's due process right.    See,
          e.g., United States v. Martinez, 77 F.3d 332, 336 (9th Cir. 1996)
          (rebuffing the defendant's pretrial claim of prejudice from the
          effects of preindictment delay on his likely sentence because the
          guidelines provided leeway for departures); 
                                                    United States
                                                                  v. 
                                                                     McCoy,
                              
               We note in passing that one of the principal constitutional
          concerns underlying the district court's opinion, 947 F. Supp. at
          553, has proven to be unfounded.  See United States v. Watts, 117
          S. Ct. 633, 637-38 (1997) (per curiam) (upholding the
          constitutionality of considering acquitted conduct, under a
          preponderance standard, for sentence-enhancement purposes).
                                          9

          977 F.2d 706, 711 (1st Cir. 1992) (rejecting as conjectural the
          argument that preindictment delay reduced the defendant's
          opportunity to serve concurrent terms on state and federal
          charges). So it is here: whether Stokes' case ultimately will
          reach the sentencing stage, and if so, what sentence will be
          imposed, are questions reserved for an uncertain future. By
          premising his analysis of the indictment's trialworthiness on the
          constitutional implications of a life sentence not yet imposed
          (and, perhaps, never to be imposed), Judge Harrington jumped the
          gun by several paces.
                    To recapitulate, sentencing issues are properly addressed
          during the sentencing phase of federal criminal trials. The
          district court's flagrant contradiction of this tenet constituted
          legal error.
                             C.  Miscellaneous Grounds.
                    Stokes attempts to confess and avoid. If the district
          court erred in its reasoning, he says, its result nevertheless is
          defensible as a condign remedy for prosecutorial vindictiveness, or
          as a concinnous exercise of the court's supervisory powers, or
          because the district court erred when it failed to dismiss the
          indictment on the basis of preindictment delay. We weigh each
          asseveration.
                    1.  Prosecutorial 
                                      Vindictiveness. It is hornbook law
          that a federal court may dismiss an indictment if the accused
          produces evidence of actual prosecutorial vindictiveness sufficient
          to establish a due process violation, or even if he demonstrates a
                                         10

          likelihood of vindictiveness sufficient to justify a presumption.
          See United States v. Goodwin, 457 U.S. 368, 376, 380 n.12 (1982);
          United 
                 States v. Marrapese, 826 F.2d 145, 147 (1st Cir. 1987).
          Seizing on a singular reference in the closing paragraph of Judge
          Harrington's opinion,  Stokes urges us to uphold the court's
          "finding" that prosecutorial vindictiveness occurred here. In
          mounting this challenge, Stokes eschews a claim of actual
          vindictiveness, arguing instead that a presumption of
          vindictiveness arises from the government's admission that it would
          not have prosecuted Stokes federally had he been convicted of
          murder (and, therefore, given a substantially longer sentence) in
          the state court.
                    We begin this segment of our analysis with a caveat:
          courts should go very slowly in embracing presumptions of
          prosecutorial vindictiveness in pretrial proceedings. 
                                                               See 
                                                                   Goodwin,
          457 U.S. at 381. Here, moreover, the allegation of vindictiveness
          is not only oddly timed, but also oddly configured. The sovereign
          is not alleged to have retaliated, as in the typical case, because
          an accused, embroiled in a legal battle with it, asserted a legal
          right. See, 
                      e.g., 
                            Blackledge v. 
                                          Perry, 417 U.S. 21, 28-29 (1974);
          North Carolina
                        v. 
                           Pearce, 395 U.S. 711, 724-25 (1969). Rather, the
          federal government is alleged to be acting vindictively in
          retaliation for an accused's victory in a 
                                                   state case. Since it is
                              
               The judge wrote, somewhat cryptically: "It is not fitting for
          the United States to be vindictive . . . ."     United 
                                                                 States v.
          Stokes, 947 F. Supp. at 557.
                                         11

          well settled that "the conduct of two independent sovereigns does
          not lend itself to the concept of vindictive prosecution," United
          States v. 
                   Bassford, 812 F.2d 16, 20 (1st Cir. 1987) (quoting 
                                                                     United
          States v. 
                   Ng, 699 F.2d 63, 68 (2d Cir. 1983)), this is a difficult
          sale to make.
                    The level of difficulty increases due to the breadth of
          the prosecutor's discretion. A federal prosecutor does not have
          the resources (time, money, staff) to charge every suspected
          malefactor. In picking and choosing, the prosecutor must act in a
          fair and even-handed manner, and he is constrained by a set of
          rules and conventions (both legal and ethical). But prosecutors
          are not required to function as bloodless automatons: they may
          (indeed, they should) make judgments about dangerousness, set
          priorities, and give heightened attention to cases which inspire a
          sense of outrage. This case illustrates the point: the
          government's decision to refrain from initiating federal criminal
          proceedings pending the outcome of a parallel (but independent)
          state prosecution, and to relax the self-imposed restraint only
          after it had been disappointed by the end result of the parallel
          proceeding, falls squarely within the encincture of this
          prosecutorial discretion. See 
                                        United States
                                                      v. 
                                                        Fuzer, 18 F.3d 517,
          520 (7th Cir. 1994); Ng, 699 F.2d at 68-69. The record indicates
                              
               Among other things, showing vindictive prosecution where two
          separate sovereigns are involved would require a finding of
          complicity between federal and state prosecutors.  See  Bassford,
          812 F.2d at 20-21; 
                            Ng, 699 F.2d at 68. There is no basis for such
          a finding here.
                                         12

          that Stokes is a dangerous criminal, and the federal government had
          a perfect right to take a hard look at his case and to determine
          whether society's interests call for the unusual step of
          instituting a federal prosecution notwithstanding the prior
          commencement of a state prosecution for substantially the same
          conduct.
                    We need not wax longiloquent. Simply put, the district
          court's inscrutable reference to vindictiveness fails to compensate
          for the utter absence of any circumstances from which a trier
          legitimately could presume vindictiveness.  See United 
                                                                 States v.
          Sutherland, 929 F.2d 765, 772 n.2 (1st Cir. 1991) (noting that
          conclusory allegations are insufficient when the record lacks any
          competent evidence of vindictiveness).
                    2.   Supervisory  
                                      Powers. The dismissal is equally
          vulnerable if viewed as an exercise of the district court's
          supervisory powers. Such powers enable courts, within limits, to
          formulate procedural rules not specifically contemplated by the
          Constitution or codified in positive law.   See United 
                                                                 States v.
          Hasting, 461 U.S. 499, 505 (1983). Thus, courts may invoke their
          supervisory powers to implement a remedy for violation of
          recognized rights, to preserve judicial integrity, or to deter
          illegal conduct. See 
                               id.; 
                                    see 
                                        also 
                                             United States
                                                           v. 
                                                              Horn, 29 F.3d
          754, 760 (1st Cir. 1994). Even so, courts must use these powers
          "sparingly."  United 
                               States v.  Santana, 6 F.3d 1, 10 (1st Cir.
          1993).
                    The district court did not explicitly invoke its
                                         13

          supervisory powers, but it did voice lingering concerns about
          "fundamental fairness" and "fair play."  United States v. Stokes,
          947 F. Supp. at 557. Stokes reads these references as reflecting
          the court's belief that the government somehow abused its
          prosecutorial discretion in lodging the indictment and thus denied
          Stokes substantive due process. The facts do not bear out this
          theory.
                    Although dismissing an indictment on substantive due
          process grounds is not unprecedented, it is extremely rare. Such
          a drastic step is reserved for cases of "serious and blatant
          prosecutorial misconduct that distorts the integrity of the
          judicial process."  United 
                                     States v. Giorgi, 840 F.2d 1022, 1030
          (1st Cir. 1988) (citation omitted). The instant case does not
          present a suitable occasion for dismissing an indictment in order
          to vindicate the court's supervisory authority.
                    In this vein, Stokes' flagship case,  United 
                                                                 States v.
          Rodman, 519 F.2d 1058 (1st Cir. 1975) (per curiam), gains him
          little headway. There, we upheld the trial court's use of inherent
          power to dismiss charges after the government breached a promise to
          recommend against indictment in return for information which
          included self-incriminating statements.    See  id. at 1059-60.
          Rodman illustrates the sort of egregious circumstances which are
          essential before a court appropriately may unleash its supervisory
          powers to interfere with the exercise of prosecutorial discretion.
          The case at bar _ in which the government had the discretion to
          initiate a federal prosecution and punctiliously followed
                                         14

          applicable internal procedures in doing so _ is not of that genre.
                    We give short shrift to Stokes' related allegation that
          the indictment was subject to dismissal because of prosecutorial
          abuse of sentence enhancers. A pretrial dismissal on this basis
          constitutes a totally inappropriate use of the court's supervisory
          powers.  See  supra Part II(B);  see also  Horn, 29 F.3d at 760
          (warning that courts may not employ their inherent powers to
          justify extreme remedies when "satisfactory anodyne[s]" exist which
          are "more narrowly tailored to the objective").
                    Finally, to the extent that Judge Harrington was
          influenced in his ruling by his evident personal disagreement with
          the government's decision to prosecute Stokes under federal law,
          his action was inappropriate. It is a bedrock principle of our
          system of criminal justice that "the Due Process Clause does not
          permit courts to abort criminal prosecutions simply because they
          disagree with a prosecutor's judgment as to when to seek an
          indictment."  United States v. Lovasco, 431 U.S. 783, 790 (1977);
          accord Santana, 6 F.3d at 11 (reading Supreme Court precedent as
          "admonishing federal courts to refrain from using the supervisory
          power to conform executive conduct to judicially preferred norms by
          dismissing charges" without sufficient legal cause).
                    In sum, the record contains no inkling of prosecutorial
          misconduct, vindictiveness, or other conduct antithetic to
          substantive due process which could justify dismissing the
          indictment through the exercise of the court's supervisory powers.
                    3.   Preindictment  
                                       Delay. Stokes' renewed claim of
                                         15

          unconstitutional preindictment delay lacks substance. A criminal
          defendant who asserts such a claim bears the heavy burden of
          showing not only that the preindictment delay caused him actual,
          substantial prejudice, but also that the prosecution orchestrated
          the delay to gain a tactical advantage over him.  See Marion, 404
          U.S. at 324; United States v. Henson, 945 F.2d 430, 439 (1st Cir.
          1991). The appellee shows neither.
                    Stokes argues that he satisfied the first prong of the
          test because, had the federal government promptly indicted him, he
          would have continued searching for a potential defense witness,
          Sherry Parkman, who disappeared between the date of the offense and
          the date of the state court trial. Since the appellee was unable
          to locate the witness at the time of his state trial, there is no
          credible reason to believe that the delay on the federal side
          placed him in a position less advantageous than he would have
          occupied had the indictments been contemporaneous.
                    The appellee's fallback position is that the delay
          prejudiced him by denying him the benefit of running his state and
          federal sentences concurrently. This is pure speculation and,
          hence, inadequate to the task.  See McCoy, 977 F.2d at 711.
                    At the expense of carting coal to Newcastle, we add that
          Stokes also fails on the second prong of the test. By all
          accounts, the government temporized until it knew the result of the
                              
               In all events Parkman's statements are ambiguous.        See
          Commonwealth v. 
                         Stokes, 653 N.E.2d at 185. Because proof of actual
          prejudice must be definite and not speculative, 
                                                         see 
                                                             Acha, 910 F.2d
          at 32, this fact, without more, would sink the appellee's argument.
                                         16

          state court prosecution. Even then, the government deferred an
          indictment because it gave priority to the prosecution of offenders
          who, unlike Stokes, were not already in custody.
                    The government's explanation is plausible and
          unimpeached; it should, therefore, be accepted. See 
                                                              United States
          v. Marler, 756 F.2d 206, 215 n.6 (1st Cir. 1985). It indicates
          that the government acted out of proper motives and achieved no
          undue tactical advantage. For these reasons, Stokes fails to
          persuade us that the district court erred in refusing to dismiss
          the case based on inordinate preindictment delay.
          III. CONCLUSION
                    We need go no further. It is evident to us that the
          district court erred as a matter of law in dismissing the case
          prior to trial. Having obtained a valid indictment within the
          limitations period, the government is entitled to try the defendant
          on the merits. Moreover, we think it best that the case be
          transferred to a new trier on remand, and we so direct. See, 
                                                                       e.g,
          United 
                 States v. Muniz, 49 F.3d 36, 42-43 (1st Cir. 1995);   Cia.
          Petrolera Caribe, Inc. v. Arco Caribbean, Inc., 754 F.2d 404, 430
          (1st Cir. 1985).
          Reversed.
                                         17


